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v SEALED

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

UNITED STATES OF AMERICA *
%
v. * CRIMINAL NO. PWG-19-140
*
JUSTIN ANTOINE, * (Conspiracy to Distribute Controlled
a.k.a. “JUSTO,” 7 Substances, 21 U.S.C. § 846; =
RODNEY BASS, * Possession of a Firearm in Relation to -
a.k.a. “BOO,” = a Drug Trafficking Crime, 18 U.S.C.
COREY BELL, * § 924(c); Possession with Intent to « En
a.k.a. “BELL," = Distribute Controlled Substances, 21
DAVON BOYKIN, 7 U.S.C. § 841; Possession of a
CALVIN CLAXTON * Firearm by a Prohibited Person, 18
a.k.a. “CAL,” * U.S.C. § 922(g)(1); Drug
CORTNEY CRAWLEY, * Paraphernalia, 21 U.S.C. § 863(a)(1);
a.k.a. “C MURDA,” * Aiding and Abetting, 18 U.S.C. § 2;
ERYICA DAVIS, = and Forfeiture, 18 U.S.C. § 924(d))
a.k.a. “MISS COOKIE,” *
CEDRIC HITE, ¥
a.k.a. “HECTOR,” *
WILLIAM JACKSON, *
RAEKWON JONES, =
a.k.a. “KWON,” *
RONALD JONES, #
SHELTON LEWIS,
ADAM MARTIN,
a.k.a. “FATS,” *
RODNEY MATTHEWS, *
a.k.a. “ROD,” *
NEAL PINKNEY, *
ROBERT WILLIAMS, =
a.k.a. “UNCLE ROB,” *
Defendants. *
*

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SUPERSEDING INDICTMENT
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COUNT ONE
Conspiracy to Distribute Controlled Substances

The Grand Jury for the District of Maryland charges that:
From a time unknown to the Grand Jury, but no later than 2018 through the filing of this
Superseding Indictment, in the District of Maryland, and elsewhere, the defendants:

JUSTIN ANTOINE,
a.k.a. “JUSTO,”
RODNEY BASS,

a.k.a. “BOO,”
COREY BELL,
a.k.a. “BELL,"

DAVON BOYKIN,

CALVIN CLAXTON
a.k.a. “CAL,”
CORTNEY CRAWLEY,

a.k.a. “C MURDA,”

ERYICA DAVIS,
a.k.a. “MISS COOKIE,”
CEDRIC HITE,
a.k.a. “HECTOR,”
WILLIAM JACKSON,
RAEKWON JONES,
a.k.a. “KWON,”
RONALD JONES,
SHELTON LEWIS,
ADAM MARTIN,
a.k.a. “FATS,”
RODNEY MATTHEWS,
a.k.a. “ROD,”
NEAL PINKNEY,
ROBERT WILLIAMS,
a.k.a. “UNCLE ROB,”

did knowingly combine, conspire, confederate, and agree with each other, and with persons known
and unknown to the Grand Jury, to distribute and possess with the intent to distribute a mixture or
substance containing a detectable amount of heroin, a Schedule I controlled substance, a mixture

or substance containing a detectable amount of cocaine base, a Schedule II controlled substance,
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and a mixture or substance containing a detectable amount of cocaine, a Schedule II controlled
substance, in violation of 21 U.S.C. § 841.
21 U.S.C. § 846

MANNER AND MEANS OF THE CONSPIRACY

ih. Among the manner and means by which the defendants and others conducted and
participated in the conspiracy were the following:

2: Members and associates of the Adam Martin and Calvin Claxton Drug Trafficking
Organization (the “Drug Trafficking Organization”) distributed narcotics in and around the
Edmondson Village area in southwest Baltimore, Maryland.

3. Members of the conspiracy distributed heroin, cocaine base, and cocaine to drug
users and drug redistributors.

4. Members of the conspiracy conducted narcotics sales on a daily basis, operating in
rotating shifts to ensure continuous distribution.

5. Members of the conspiracy sold bulk quantities of narcotics to other drug traffickers
who, in turn, redistributed the narcotics in and around Baltimore.

6. Members of the conspiracy adulterated heroin and cocaine to maximize their
profits, cutting the drugs with other substances.

7. Members of the conspiracy used residences in and around Baltimore, Maryland to
process, cut, repackage, and prepare heroin, cocaine, and cocaine base for distribution.

8. Members of the conspiracy frequently changed cell phones to prevent the
interception of drug-trafficking communications by law enforcement.

9. Members of the conspiracy possessed firearms in furtherance of their drug

trafficking activities, including this conspiracy.
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10. Members of the conspiracy used violence to retaliate against those seeking to rob

or cheat the Drug Trafficking Organization.
OVERT ACTS

11. | The defendants and members and associates of the Drug Trafficking Organization
committed acts in furtherance of the organization’s objectives, which include, but are not limited
to, the following:

12. From at least the beginning of 2018 until the dates of their arrests, ANTOINE,
BASS, BELL, CLAXTON, DAVIS, HITE, JACKSON, RAEKWON JONES, RONALD
JONES, LEWIS, MARTIN, MATTHEWS, PINKNEY, WILLIAMS, and other members of
the Drug Trafficking Organization collectively distributed, intended to distribute, and assisted in
the distribution of heroin, cocaine, and cocaine base throughout the Baltimore metropolitan area.

13. On or about April 27, 2018, RAEKWON JONES possessed with intent to
distribute cocaine base and heroin.

14, On or about May 5, 2018, ANTOINE shot and killed J.D.

15. On or about May 17, 2018, RAEKWON JONES possessed with intent to
distribute cocaine base and heroin.

16. On or about June 8, 2018, MATTHEWS possessed with intent to distribute cocaine
base and heroin.

17. On or about July 2, 2018, MATTHEWS possessed with intent to distribute cocaine
and heroin, and a loaded firearm.

18. On or about July 18, 2018, BELL sold cocaine base to an undercover officer.

19. On or about July 18, 2018, CRAWLEY sold cocaine base to an undercover officer.

20. On or about July 25, 2018, BELL sold cocaine base to an undercover officer.
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21. On or about July 31, 2018, PINKNEY sold cocaine base to an undercover officer.

22. On or about August 2, 2018, PINKNEY and RONALD JONES sold cocaine base
to an undercover officer.

23. On or about August 8, 2018, BELL sold cocaine base to an undercover officer.

24. On or about August 16, 2018, BELL sold cocaine base to an undercover officer.

25. On or about August 23, 2018, BELL sold cocaine base to an undercover officer.

26. On or about September 13, 2018, BELL sold cocaine base to an undercover officer.

Zi. On or about September 13, 2018, CRAWLEY sold cocaine base to an undercover
officer.

28. On or about September 19, 2018, BELL sold cocaine base to an undercover officer.

29, On or about October 3, 2018, CRAWLEY sold cocaine base to an undercover
officer.

30. On or about October 4, 2018, BELL sold cocaine base to an undercover officer.

31. On or about October 16, 2018, CRAWLEY sold cocaine base to an undercover
officer.

32. On or about October 16, 2018, ANTOINE engaged in a gunfight with associates
of J.D. ANTOINE fired his gun in the exchange and an unarmed victim, S.J., was struck in the
crossfire on Edgewood Street.

33. On or about October 17, 2018, BELL sold cocaine base to an undercover officer.

34. On or about October 24, 2018, CRAWLEY sold cocaine base and heroin to an
undercover officer.

35. On or about October 24, 2018, CRAWLEY called BELL and asked for a supply

of drugs. BELL responded that he was presently out of drugs.
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36. On or about October 24, 2018, CRAWLEY spoke to BOYKIN by telephone to
obtain a resupply of drugs. During the call, BOYKIN asked, “YEAH, YOU STILL WANTED
WHAT YOU WANTED EARLIER?” CRAWLEY stated, “YEAH, the ... the 2-0.” BOYKIN
confirmed the quantity of drugs but CRAWLEY then said, “NAH, MATTER OF FACT, GIVE
ME 15 OF ‘EM, BRO.”

Bi: On or about October 26, 2018, BOYKIN and CRAWLEY spoke by phone.
CRAWLEY told BOYKIN, “GIVE ME, GIVE ME EIGHT OF ‘EM, EIGHT NICE ONES BRO
THAT I CAN FLIP.” BOYKIN and CRAWLEY agreed to meet, so BOYKIN could supply
CRAWLEY with drugs to sell to a customer who was traveling to Baltimore to buy drugs. Later
that day, CRAWLEY told BOYKIN that he needed to get the drugs as soon as possible because
a person had put “MONEY ON MY HEAD AND ALL THAT SON, I GOTTA HURRY UP AND
MOVE BRO.”

38. On November 1, 2018, CRAWLEY asked for drugs on credit from BOYKIN, who
hesitated to do so. CRAWLEY explained he had multiple drug customers lined up already.
BOYKIN and CRAWLEY then met for the drug transaction.

39, From on or about August 2018 through November 1, 2018, BELL used his
residence on Tolley Street in Baltimore, MD to store narcotics and narcotics sale proceeds. On or
about November 1, 2018, investigators recovered from BELL’s residence in Baltimore two boxes
containing spent ammunition casings, one scale used to weigh narcotics for distribution, over
$7,000 in United States currency, and drug packaging and distribution paraphernalia.

40. | From onor about September 2018 through November 1, 2018, the Drug Trafficking
Organization operated a stash house on Grantley Street that was used to store narcotics. On

November 1, 2018, PINKNEY was inside the stash house and in possession of approximately 161
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bags of cocaine base, approximately 4.1 grams of loose cocaine base, and approximately 2.2 grams
of loose heroin.

41. On or about November 1, 2018, CRAWLEY spoke to an associate about his
suspicions that he and BELL were under investigation due to selling drugs to an undercover
officer. During the call, CRAWLEY told the associate, “IF THAT’S THE CASE, THE FEDS,
CAUSE THE FEDS NOT GOING TO PULL UP JUST FOR NOTHING. LIKE THEY KNOW
SOMETHING. THERE MUST BE MORE INVESTIGATION ON Y’° ALL.”

42. On or about November 1, 2018, CRAWLEY observed investigators executing a
search warrant at the Grantley Street stash house. CRAWLEY then called an associate and told
him, “THE FEDS GOT THEIR HOUSE.”

43, On or about November 19, 2018, ANTOINE spoke to BASS by telephone. During
the call, ANTOINE asked BASS, “HOW MANY, LIKE HOW MUCH, MUCH YOU GOT
LEFT?” BASS replied, “AH SHI*. 1 GOT A LITTLE BIT OF THIS LEFT. I JUST CAME OUT
HERE CAUSE IT’S BEEN HOT AND ALL. THEY LOCKED C-MURDA AND ALL THEM
UP.” ANTOINE asked BASS to confirm this, and when BASS did, ANTOINE exclaimed,
“DAMN. THAT MEAN...MEAN THAT’S MORE MONEY FOR YOU!”

44, On or about November 26, 2018, ANTOINE called a co-conspirator to plan the
robbery of an unlicensed taxi driver because he believed the taxi driver had refused to return a
firearm that ANTOINE had left in the vehicle. ANTOINE explained that he planned to confront
the driver, stating that if the driver gave him any issues that he was “SPLATTING THAT SHI*.”

45, On or about November 28, 2018, ANTOINE called a co-conspirator and told him

that a drug customer was traveling to ANTOINE’s house to buy drugs. ANTOINE then told the
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co-conspirator where to find the drugs in his house and how much to sell to the customer. The co-
conspirator acknowledged, obtained the drugs, and then sold them to the drug customer.

46. On or about December 13, 2018, BOYKIN distributed cocaine base

47. On or about December 16, 2018, ANTOINE spoke to MARTIN about how he was
thinking about buying a long gun from someone in the neighborhood because he could use the
firearm. MARTIN told ANTOINE not to sell his other firearm. ANTOINE acknowledged that
he would still keep his current gun but also obtain the new gun, stating, “THAT, THAT WILL
PUT SOME SHI* DOWN THOUGH.”

48. On or about December 28, 2018, HITE called MARTIN and asked, “ALRIGHT,
ALRIGHT, SO WE ON, WE ON HOLD FOR A MINUTE?” MARTIN confirmed that drug sales
at the shop should stop and told HITE to be careful because the police were in the area.

49. Onor about January 28, 2019, HITE engaged in a drug sale, but was robbed by the
purported customers. RAEKWON JONES then called MARTIN and reported the robbery and
described the person who robbed HITE.

50. On or about January 2, 2019, HITE called MARTIN to tell him he had drug
proceeds to turn over to MARTIN. During the call, MARTIN accused HITE of losing drug
proceeds. Later that day, HITE spoke to MARTIN and admitted to losing the drug proceeds and
owing MARTIN money.

51. On or about January 10, 2019, ANTOINE possessed a loaded HK P30L .40 caliber
pistol bearing serial number 221-004080, heroin, and cocaine base with intent to distribute the
drugs.

52. On or about February 1, 2019, MARTIN called RAEKWON JONES to check on

the status of drug sales. RAEKWON JONES told MARTIN, in substance, that heroin and
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cocaine sales had started increasing lately and that customers particularly liked the heroin.
MARTIN responded, “OH YEAH, I KNOW. I COOKED LAST NIGHT,” meaning he had
processed the current supply of heroin.

53. On February 3, 2019, MARTIN called MATTHEWS to ask if RAEKWON
JONES was with MATTHEWS selling drugs. MATTHEWS reported that RAEKWON
JONES was not, and explained that a co-conspirator had heroin and cocaine stolen recently.

54. Onor about February 4, 2019, MARTIN sold approximately 32 grams of cocaine
base to JACKSON. An FBI investigator stopped JACKSON shortly thereafter and recovered the
cocaine base from JACKSON. JACKSON then called MARTIN and told MARTIN that law
enforcement had seized the drugs from him but did not arrest him. During the call, JACKSON
stated, “SO I’M STILL GOOD, BUT THEY TOOK THAT BUT I AIN’T GO NOTHING NEW.
] GOTTA START ALL OVER AGAIN. WHOLE SHIT GONE. I CAN’T BELIEVE THIS S***
MAN. CAN’T BELIEVE THIS SHI*.” MARTIN then told JACKSON that he would call him
back to discuss further.

55. On or about February 6, 2019, MATTHEWS sold heroin and cocaine base to an
undercover officer.

56. On or about February 8, 2019, MARTIN and DAVIS spoke by telephone. During
the call, DAVIS stated, in substance, that an associate stole drugs from her. DAVIS stated that she
could not stop the theft because her weapon was out of reach in a pocketbook. MARTIN then
stated, “ALRIGHT, WE SAID THAT WE GONNA BEAT THE FUC* OUT OF THIS BITC*.”

57. On or about February 14, 2019, RONALD JONES sold cocaine base to an

undercover officer.
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58. On or about February 17, 2019, MATTHEWS told MARTIN that he had run out
of heroin and was helping RAEKWON JONES sell the last amount of heroin that he possessed.

59. On or about February 19, 2019, Baltimore City Police Department officers on patrol
recovered multiple bags and containers of heroin, cocaine base, and marijuana that were hidden
near the drug shop operated by the Drug Trafficking Organization. Shortly thereafter,
RAEKWON JONES spoke to MARTIN by phone and told him, “THE POLICE TOOK ME
AND BRO PACK.”

60. On or about February 19, 2019, MARTIN supplied BASS with a quantity of
narcotics in a bag that BASS then hid in an alley. As BASS and a co-conspirator engaged in drug
sales, investigators approached the location and recovered the bag, which contained multiple gel
capsules of heroin, small bags of cocaine base, and small plastic jugs of cocaine base. Following
this seizure, BASS, MARTIN, and the co-conspirator searched the area, looking for the narcotics
that investigators had seized.

61. On or about February 28, 2019, HITE possessed with intent to distribute heroin,
which an investigator recovered from his person. Following recovery of the heroin, MATTHEWS
called MARTIN and reported that the police had taken drugs from HITE. MATTHEWS also
complained that members of the Drug Trafficking Organization were carrying all of their drugs on
their persons, including BELL. MARTIN then said he would speak to BELL.

62. On or about March 2, 2019, DAVIS called MARTIN to obtain a supply of drugs.
MARTIN said he would travel to meet DAVIS. DAVIS then told MARTIN to meet with LEWIS
because she had left money with fin:

63. Beginning in 2018 and continuing through April 10, 2019, MARTIN regularly

stored narcotics at a residence on West Franklin Street. On or about April 10, 2019, investigators

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recovered, among other property, the following at the residence: (a) one Taurus PT 709 pistol
bearing serial number TEZ15711, one Taurus PT 111 G2 pistol bearing serial number TJM43479,
one Polymero P-809MM pistol bearing serial number PF9400, one CW 45 Kahr pistol bearing
serial number SF4811; (b) gel capsules of heroin packaged for sale; (c) vials of cocaine base
packaged for sale; and (d) drug distribution paraphernalia.

64. Beginning in 2018 and continuing through April 10, 2019, CLAXTON and
MARTIN used a residence located on Walbrook Avenue to process and store narcotics. On or
about April 10, 2019, investigators recovered from the location: (a) one Smith & Wesson MP
Shield 9 mm pistol bearing serial number HMM3149 and ammunition; (b) over 200 grams of
cocaine base; (c) multiple bags of heroin; and (d) drug processing and distribution paraphernalia.

65. On or about April 10, 2019, CLAXTON possessed over $20,000 in United States
currency in drug proceeds and ammunition his house.

66. On or about April 10, 2019, RODNEY MATTHEWS possessed one Winchester
model 37A shotgun bearing serial number C621666.

67. On or about April 11, 2019, JACKSON possessed with intent to distribute over 28
grams of cocaine base in his house.

68. On or about April 12, 2019, DAVIS received a consensually-recorded jail call from
an inmate at a Maryland correctional facility. During the call, DAVIS began arguing with another
person in her presence over drug territory, stating: “I’M 45 YEARS OLD. AND VE NEVER,
I'VE NEVER SEEN YOU HUSTLING DOWN HERE EVER. WHEN I YOUNG, I DON’T
CARE WHERE YOU LIVE. ’M TALKING ABOUT HUSTLING, SWEETIE. PVE NEVER
SEEN YOU DOWN HERE. I MEAN, | UNDERSTAND YOU GOT YOUR WAY ON THE

STREETS, BUT YOU DIDN’T EARN IT RIGHT HERE BOO.” DAVIS further stated that she

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was by herself with “BIG BROTHER...AND I’M TALKING ABOUT THAT, NOT THE 8, THE
NUMBER 9,” referring to a 9 mm firearm.

69. On or about March 5, 2019, BOYKIN possessed with intent to distribute cocaine
base.

70. On or about May 9, 2019, LEWIS and DAVIS possessed with intent to distribute
heroin and two loaded firearms in their house.

71. From on or about November 2018 to May 9, 2019, WILLIAMS regularly sold
narcotics cutting agents to MARTIN. During this time, WILLIAMS stored these cutting agents
within his antiques business located in the Hollins Market.

723 On or about May 9, 2019, WILLIAMS possessed multiple boxes of cutting agents
and one Stevens shotgun bearing serial number 2377 inside his business at the Hollins Market.

Quantity of Controlled Substances Distributed in the Conspiracy

73. With respect to BASS, BELL, CLAXTON, HITE, RAEKWON JONES,
MARTIN, and MATTHEWS, the amount involved in the conspiracy attributable to each of them
as a result of their own conduct, and the conduct of other conspirators reasonably foreseeable to
them, is one kilogram or more of a mixture or substance containing a detectable amount of heroin,
280 grams or more of a mixture or substance containing a detectable amount of cocaine base, and
a quantity of a mixture or substance containing a detectable amount of cocaine.

74. With respect to ANTOINE, CRAWLEY, RONALD JONES, and PINKNEY,
the amount involved in the conspiracy attributable to them as a result of their own conduct, and
the conduct of other conspirators reasonably foreseeable to them, is 28 grams of a mixture or

substance containing a detectable amount of cocaine base, 100 grams or more of a mixture or

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substance containing a detectable amount of heroin, and a quantity of a mixture or substance
containing a detectable amount of cocaine.

75. With respect to BOYKIN and JACKSON, the amount involved in the conspiracy
attributable to them as a result of their own conduct, and the conduct of other conspirators
reasonably foreseeable to them, is 28 grams of a mixture or substance containing a detectable
amount of cocaine base and a quantity of a mixture or substance containing a detectable amount
of cocaine.

76. With respect to DAVIS, LEWIS, and WILLIAMS, the amount involved in the
conspiracy attributable to them as a result of their own conduct, and the conduct of other
conspirators reasonably foreseeable to them, is a quantity of a mixture or substance containing a
detectable amount of heroin, a quantity of a mixture or substance containing a detectable amount
of cocaine base, and a quantity of a mixture or substance containing a detectable amount of

cocaine.

21 U.S.C. § 846

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COUNT TWO
Possession with Intent to Distribute Controlled Substances

The Grand Jury for the District of Maryland further charges that:
On or about January 10, 2019, in the District of Maryland, the defendant,
JUSTIN ANTOINE,
did knowingly and intentionally possess with intent to distribute a quantity of a mixture or
substance containing a detectable amount of heroin, a Schedule I controlled substance, and a
mixture or substance containing a detectable amount of cocaine, a Schedule II controlled
substance.

21 U.S.C. § 841(a)(1)

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COUNT THREE
Possession of a Firearm in Relation to a Drug Trafficking Crime

The Grand Jury for the District of Maryland further charges that:
On or about January 10, 2019, in the District of Maryland, the defendant,
JUSTIN ANTOINE,

did knowingly possess a firearm in relation to a drug trafficking crime for which he may be
prosecuted in a court of the United States, to wit: Conspiracy to Possess with Intent to Distribute
a Controlled Substance, in violation of 21 U.S.C. § 846, as charged in Count One, and Possession
with Intent to Distribute a Controlled Substance, in violation of 21 U.S.C. § 841(a)(1), as charged
in Count Two.

18 U.S.C. § 924(c)(1)(A)

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COUNT FOUR
Possession of a Firearm by a Prohibited Person

The Grand Jury for the District of Maryland further charges that:
On or about May 9, 2019, in the District of Maryland, the defendant,
SHELTON LEWIS
having been convicted of a crime punishable by imprisonment for a term exceeding one year, did
knowingly possess in and affecting interstate commerce a firearm and ammunition, that is, one
Glock 19 9mm pistol bearing serial number BCCV023, one ISSC M22 .22 caliber pistol bearing
serial number VAAO12, and ammunition,

18 U.S.C. § 922(g)(1)

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COUNT FIVE
Possession of a Firearm in Relation to a Drug Trafficking Crime

The Grand Jury for the District of Maryland further charges that:
On or about May 9, 2019, in the District of Maryland, the defendants,
ERYICA DAVIS,
a.k.a. “MISS COOKIE,”
SHELTON LEWIS,
did knowingly possess a firearm in relation to a drug trafficking crime for which they may be
prosecuted in a court of the United States, to wit: Conspiracy to Possess with Intent to Distribute

a Controlled Substance, in violation of 21 U.S.C. § 846, as charged in Count One.

18 U.S.C. § 924(c)(1)(A)
18 U.S.C. § 2

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COUNT SIX
Drug Paraphernalia

The Grand Jury for the District of Maryland further charges that:
From a time unknown to the Grand Jury, but no later than 2018 and continuing through
May 9, 2019, in the District of Maryland, and elsewhere, the defendant:

ROBERT WILLIAMS,
a.k.a. “UNCLE ROB,”

did knowingly sell and offer to sell drug paraphernalia.

21 U.S.C. § 863(a)(1)

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FORFEITURE
The Grand Jury for the District of Maryland further charges that:
1. Pursuant to Rule 32.2, Fed. R. Crim. P., and Title 21, United States Code, Section

853, upon conviction of an offense in violation of Title 21, United States Code, Section 846, the

defendants:

JUSTIN ANTOINE,
a.k.a. “JUSTO,”
RODNEY BASS,

a.k.a. “BOO,”
COREY BELL,
a.k.a. “BELL,"

DAVON BOYKIN,
CALVIN CLAXTON
a.k.a. “CAL,”
CORTNEY CRAWLEY,
a.k.a. “C MURDA”
ERYICA DAVIS,
a.k.a. “MISS COOKIE,”
CEDRIC HITE,
a.k.a. “HECTOR,”
WILLIAM JACKSON,
RAEKWON JONES,
a.k.a. “KWON,”
RONALD JONES,
SHELTON LEWIS,
ADAM MARTIN,
a.k.a. “FATS,”
RODNEY MATTHEWS,
a.k.a. “ROD,”
NEAL PINKNEY,
ROBERT WILLIAMS,
a.k.a. “UNCLE ROB,”

shall forfeit to the United States of America any property constituting, or derived from, any
proceeds obtained, directly or indirectly, as the result of such offense and any property used, or
intended to be used, in any manner or part, to commit, or to facilitate the commission of, the

offense(s), including the following: one HK P30L pistol bearing serial number 221-004080, one

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Glock 19 9mm pistol bearing serial number BCCV023, one ISSC M22 .22 caliber pistol bearing
serial number VAAO012, one Winchester Model 37A shotgun bearing serial number C621666, one
Stevens shotgun bearing serial number 2037, one Smith & Wesson MP Shield 9 mm pistol bearing
serial number HMM3149, one Taurus PT 709 pistol bearing serial number TEZ15711, one Taurus
PT 111 G2 pistol bearing serial number TJM43479, one Polymero P-809MM pistol bearing serial
number PF9400, one CW 45 Kahr pistol bearing serial number SF4811,and ammunition.
2s If any of the property, as a result of any act or omission of the defendants:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided without difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title

21, United States Code, Section 853(p).

21 U.S.C. § 853

28 U.S.C. § 2461(c) yy, KA/

ROBERT K. HUR
United States Attorney

A TRUE BILL:

SIGNATURE REDACTED Ahenthe

Date

 

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